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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     LUBBOCK DIVISION

  State of Texas,

                    Plaintiff,
         v.
                                                 Civil Action No. 5:24-cv-00204-H
  United States Department of Health and
  Human Services, et al.,
                    Defendants.


          REPLY IN SUPPORT OF PROPOSED INTERVENOR-DEFENDANTS’
                      MOTION FOR LEAVE TO INTERVENE

        Proposed Intervenors—the City of Columbus, Ohio, the City of Madison, Wisconsin, and

 Doctors for America (“DFA”)—seek to defend two regulations enacted under the Health Insurance

 Portability and Accountability Act (“HIPAA,” and regulations the “2000 Rule” and the “2024

 Rule” together, the “Privacy Rules” or “Rules”). Defendants will not, and cannot, promise a

 fulsome defense of these Rules, precisely the scenario in which intervention by another interested

 party is necessary and appropriate. Proposed Intervenors, which are both regulated by and benefit

 from the Rules, have an interest in doing so, which they have substantiated with record evidence.

        The Parties’ arguments to the contrary misconstrue the requirements for Rule 24 as set out

 by the Fifth Circuit.       As explained in their brief in support of their Motion for Leave to

 Intervene, ECF 27, and below, Proposed Intervenors satisfy all requirements for mandatory

 intervention, and, in the alternative, permissive intervention. A recent decision by another court

 in this district misapplied these requirements and should not impact the outcome here. Proposed

 Intervenors’ motion should be granted.




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        I.       The Purl decision does not compel denying intervention here.

             Proposed Intervenors have sought to intervene in four challenges to HIPAA and its Privacy

 Rules: the above-captioned case; Purl v. HHS, No. 2:24-cv-228 (N.D. Tex.); Missouri v. HHS,

 No. 4:25-cv-77 (E.D. Mo.); and Tennessee v. HHS, No. 3:25-cv-25 (E.D. Tenn.).1 In this Court

 and the Tennessee and Missouri courts, the motions to intervene are pending. On April 15, 2025,

 in a decision not binding on this Court, the Purl court denied intervention on interest and adequacy

 grounds. See Purl v. HHS, 2025 WL 1117477, at *2 (N.D. Tex. Apr. 15, 2025). Not only does

 that case not address the 2000 Rule, but, respectfully, that decision was flawed in several respects:

 First, it did not offer sufficient support for its proposition that putative intervenors must be the

 intended beneficiaries of a regulatory scheme they seek to defend. See id. at *2. Second, it

 incorrectly concluded that future compliance costs only satisfy the interest prong under

 circumstances absent in that case. See id. at 3. Third, it ignored key facts and evidence in

 determining that Proposed Intervenors’ interests in the provider-patient relationship and public

 health were too “general.” See id. at *2–*4. Finally, in deciding that Proposed Intervenors failed

 to demonstrate inadequacy of representation—and denying permissive intervention—the Purl

 court failed to adhere to the minimal burden required for the adequacy prong of Rule 24’s test. See

 id. at *4–*5. Proposed Intervenors have since filed notice of appeal in that case.

             Two developments further emphasize that the Purl court reached the wrong result: First,

 the Fifth Circuit has since reaffirmed that Rule 24(a)’s requirements are to be “liberally

 construed.” Tex. Gen. Land Off. v. Trump, 2025 WL 1410414, at *3 (5th Cir. May 15, 2025)

 (citation modified).          Second, the government has continued to demonstrate its inadequate

 representation of Proposed Intervenors’ interests.



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     Plaintiffs in the three other cases challenge only the 2024 Rule.


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 declarations. Especially given Rule 24(a)’s “minimal” interest burden, Texas v. U.S., 805 F.3d

 653, 661 (5th Cir. 2025) (citation modified), an even “more lenient standard” in public interest

 cases such as this one, Brumfield v. Dodd, 749 F.3d 339, 344 (5th Cir. 2014), Proposed Intervenors

 have clearly established adequate interest.

         First, the Parties’ assertion that Proposed Intervenors hold no cognizable interest in a

 regulatory scheme to which they are directly subject is wrong. Precedent is clear: Proposed

 Intervenors have an interest in a scheme that regulates them, as doctors and operators of covered

 entities. See Wal-Mart v. Texas Alcoholic Beverage Comm’n, 834 F.3d 562, 567 (5th Cir. 2016)

 (parties can intervene to “challeng[e] the regulatory scheme that governs” them); Nat’l

 Horsemen’s Benevolent & Protective Ass’n v. Black, 2022 WL 974335, at *5 (N.D. Tex. Mar. 31,

 2022). The Parties cite no case—apart from Purl—for the proposition that only the “intended

 beneficiaries” of a law may intervene to defend it. As the Fifth Circuit has explained, “interest”

 for purposes of intervention, particularly in public interest cases, is analogous to the interest

 requirement under the “zone of interest” test in public law cases. See Brumfield, 749 F.3d at 344

 (citing New Orleans Pub. Serv., Inc. v. United Gas Pipe Line Co., 732 F.2d 452, 464–65 (5th Cir.

 1984) (en banc)). And the Fifth Circuit has reaffirmed not only that the zone-of-interest test is a

 liberal one, but also that doctors fall within the zone of interest of laws that “protect[] some aspects

 of the ‘practitioner-patient relationship.’” Apter v. HHS, 80 F.4th 579, 592 (5th Cir. 2023).

 Further, in the context of Article III standing—a higher threshold than Rule 24—“there is

 ordinarily little question” that a plaintiff who is the “object of a regulation” has standing to sue.

 Contender Farms, LLP v. USDA, 779 F.3d 258, 264 (5th Cir. 2015) (citation modified).

         And even if intervenors must be intended beneficiaries of a law they seek to defend (they

 need not), the Privacy Rules specifically identify health care providers and public health




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 authorities, like Proposed Intervenors, as intended beneficiaries. The text of the 2024 Rule plainly

 identifies how doctors and public health programs will benefit from it, including through

 “eliminat[ing] burdens” on health care providers. See Appx. 0798 (HIPAA Privacy Rule to

 Support Reproductive Health Care Privacy, 89 Fed. Reg. 32976, 32993 (Apr. 26, 2024)). Both

 rules reflect intent to benefit public health efforts. For example, the 2024 Rule intends to “protect

 against a decline in individual and population health outcomes,” Appx. 0795 (89 Fed. Reg. at

 32991), and the 2000 Rule’s assertion that robust privacy protections improve accurate reporting

 and “[a]ccurate medical records assist communities in identifying troubling public health trends

 and in evaluating the effectiveness of various public health efforts.” Appx. 0177 (Standards for

 Privacy of Individually Identifiable Health Information, 65 Fed. Reg. 82462, 82467 (Dec. 28,

 2000)). The 2000 Rule also explains how although “[m]any plans, providers, and clearinghouses

 have taken steps to safeguard the privacy of individually identifiable health information,” before

 the 2000 Rule was implemented, covered entities had to “rely on a patchwork of State laws and

 regulations that are incomplete and, at times, inconsistent.” Appx. 0173–74 (65 Fed. Reg. at

 82467). As a case relied on by the Fifth Circuit in Wal-Mart put it, 834 F.3d at 567: Proposed

 Intervenors “seeking to preserve” a regulation that benefits them and “which may in part be

 intended to” do so satisfies Rule 24(a). Massachusetts Food Ass’n v. Sullivan, 184 F.R.D. 217,

 222 (D. Mass. 1999), aff’d sub nom., Massachusetts Food Ass’n v. Massachusetts Alcoholic

 Beverages Control Comm’n, 197 F.3d 560 (1st Cir. 1999) (emphasis added).

        Second, and contrary to what the parties assert, vacatur of either or both of the Privacy

 Rules as a result of this lawsuit will harm Proposed Intervenors. The Parties have no persuasive

 arguments to counter the detailed affidavits that Proposed Intervenors have provided—from

 members and representatives who interact with patients and who help run public health




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 departments—which clearly articulate the consequences, both financial and otherwise, that will

 result if the Privacy Rules are vacated.

        For example, Proposed Intervenors have offered declarations that discuss the key role that

 HIPAA and its regulations play to ensure patient trust in patient-provider confidentiality, which

 improves the provision of care and, for the cities, supports public health efforts. One doctor

 member of DFA described HIPAA and the Privacy Rules as “foundational” for building trust with

 patients, an “essential” component of her practice. See Appx. 0014 (Oller Decl. ¶¶ 10–11).

 Another stated: “Without the protections of the 2000 and 2024 Rules, providers would have less

 ability to protect the sensitive medical information they receive from misuse, and our members

 would face increased challenges in their ethical and professional duties to provide effective care

 to their patients.” Appx. 0010 (Petrin Decl.¶ 17). Representatives from the cities of Columbus

 and Madison made similar attestations. See, e.g., Appx. 0025 (Johnson Decl. ¶ 18) (explaining

 how “[t]he delivery of quality health care depends on individuals being willing to share the most

 intimate details of their lives with their health care providers” and HIPAA and its regulations,

 including the challenged Privacy Rules, are key to “increas[ing] patient trust”); Appx. 0033

 (Heinrich Decl. ¶¶ 21–24). The cities have an additional interest in promoting public health. As

 the representatives of the Columbus and Madison health departments have explained, patient trust

 in clinicians is essential because accurate data allows public health departments to identify and

 address public health trends and evaluate the effectiveness of the solutions they implement. See,

 e.g., Appx. 0026 (Johnson Decl. ¶ 22); Appx. 0034 (Heinrich Decl. ¶ 26).

        Proposed Intervenors also have an interest in avoiding the costly consequences of

 overturning the Privacy Rules. This is especially true as to the 2000 Rule, which has been the

 bedrock of patient privacy for nearly 25 years, and upon which enormous reliance interests have




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 accrued. There are also costs to overturning the 2024 Rule; for example, the City of Columbus

 has already devoted time and resources to implementing the 2024 Rule. See Appx. 0020 (Mitchell

 Decl. ¶ 14). Undoing that work would not only mean that money was “spent in vain,” City of

 Houston v. Am. Traffic Solutions, Inc., 668 F.3d 291, 294 (5th Cir. 2012), it would also require

 additional expenses as a result of compliance with the new legal landscape, Britto v. ATF, 2023

 WL 11957195, at *3 (N.D. Tex. Apr. 14, 2023) (listing compliance costs as one interest sufficient

 for Rule 24(a)). DFA has such an interest, too. As an organization that devotes significant

 resources to improving the provision of health care, there is no doubt an end to either Rule through

 this litigation would “change[] the legal landscape ” in which DFA (and its members) operate, in

 turn requiring it to “expend resources to educate their members on the shifting situation.” La

 Union del Pueblo Entero v. Abbott, 29 F.4th 299, 306, 307 (5th Cir. 2022). The government’s

 attempt to limit the American Traffic Solutions holding on the ground that the putative intervenors

 had been involved previously in the regulatory action is unpersuasive. See Defs.’ Opp. at 6

 (citations omitted). The Fifth Circuit has “continued to hold that economic interests can justify

 intervention when they are directly related to the litigation.” Wal-Mart, 834 F.3d at 568 (citations

 omitted).

        Further, Texas’s assertion that Proposed Intervenors’ interests are too generalized is wrong

 and misconstrues Rule 24(a)’s requirements. Texas Opp. at 6 (citations omitted). That Proposed

 Intervenors’ interests may be shared by others subject to the Privacy Rules does not negate the

 sufficiency of their interests. Rule 24(a) bars “generalized interest[s]”—that is, interests only in

 the outcome of the case—not specific interests that are common to regulated parties. See Texas,

 805 F.3d at 660; La Union, 29 F.4th at 305. And unlike the government’s contention, Proposed

 Intervenors have offered more than enough to show their interests warrant intervention,




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 particularly at this stage, where all “doubts” are “resolved in favor of the proposed intervenor,”

 Gen. Land Off., 2025 WL 1410414, at *3 (citation modified).

    B. Resolution of this case in favor of Texas will impair Proposed Intervenors’ ability to
       protect their interests.

        The government argues, in a footnote, that Proposed Intervenors’ ability to protect their

 interests will not be impaired by the outcome of this litigation. Defs.’ Opp. at 8 n.5. But this

 crabbed and legalistic reading of Proposed Intervenors’ argument misses the point. As Proposed

 Intervenors explained in their opening brief, if Texas is afforded any part of its relief, Proposed

 Intervenors will have no mechanism to contest the outcome. See Mem. ISO Intervention at 15.

 Proposed Intervenors easily satisfy the low showing needed to satisfy this prong. See La Union,

 29 F.4th at 307 (citing Brumfield, 749 F.3d at 344–45).

    C. Proposed Intervenors have more than made the minimal showing required to satisfy the
       inadequacy showing.

        A key fact disposes of the inadequacy requirement in Proposed Intervenors’ favor: The

 government has not represented that it will defend the Privacy Rules vigorously and in full. See

 generally Defs.’ Opp.; see also Appx. 1566–77 (Tennessee, ECF 90) (doing the same in its

 intervention opposition in that case). Indeed, the government makes no argument on the adequacy

 prong because it cannot. Rather, the government’s last substantive representation to this Court

 was that HHS leadership continues to “evaluate their position in this case and determine how best

 to proceed.” ECF 39; see also ECF 44 (asking the Court, months later, to continue to stay the

 proceedings). On May 12, 2025, the government represented to the Purl court that HHS is

 continuing to assess the 2024 Rule. See Appx. 1534–37 (Purl, ECF 108). And, as discussed

 above, in the three other cases challenging the 2024 Rule, the government has stopped defending

 it on the merits. The administration’s actions outside of litigation underscore this lack of defense;

 it has rescinded the Executive Order that required HHS to consider actions under HIPAA to


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 strengthen private healthcare information related to reproductive services. Appx. 1498–1500

 (Exec. Order No. 14182, 90 Fed. Reg. 8751 (2025) (rescinding Exec. Order No. 14076, 87 Fed.

 Reg. 42053, 42054 (2022))). These suffice to demonstrate that the Proposed Intervenors’ goal of

 defending at least one challenged rule at the very least may diverge from those of the government

 in the future, which is all that is needed under Rule 24(a) to support a finding of inadequacy

 here. See Heaton v. Monogram Credit Card Bank of Georgia, 297 F.3d 416, 425 (5th Cir. 2002).

         Given the government’s silence, Texas’s arguments carry little weight. Texas asserts that

 Defendants’ major shift in litigation strategy—to focus solely on jurisdictional arguments—cannot

 be seen as Defendants “abandon[ing] the merits arguments” because they have not explicitly

 “disclaimed any of th[e] arguments” they previously made. Texas Opp. at 8. In doing so, Texas

 asks the Court to give no weight to a material change in position and to impose a heightened legal

 standard with respect to the presumption of adequate representation.

         The Fifth Circuit’s decision in Louisiana v. Burgum, 132 F.4th 918 (5th Cir. 2025), is

 instructive. In that case, in discussing the ultimate-objective presumption, the court determined

 that the putative intervenor had not demonstrated inadequate representation because it did not

 specify any action taken by the government defendant that was “adverse to its interests,” even

 admitting that it “cannot know . . . what litigation position or defenses [the agency] will

 pursue.” Id. at 923 (citation modified). Here, Proposed Intervenors have identified adversity.

 They plan to defend both Privacy Rules on their merits. The government has made amply clear

 that, at least as to one rule, it does not.

         Proposed Intervenors have easily made the “minimal” showing—as to both the 2000 Rule

 and the 2024 Rule— that the government’s representation of their interests “may be inadequate,”




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 a “showing [that] need not amount to a certainty.” Guenther v. BP Ret. Accumulation Plan, 50

 F.4th 536, 543 (5th Cir. 2022) (citation modified).

     III.      Alternatively, this Court should permit intervention under Rule 24(b).

            If this Court does not find that Proposed Intervenors have met their burden under 24(a)(2),

 it should nonetheless grant permissive intervention under Rule 24(b) because the Proposed

 Intervenors “ha[ve] a claim or defense that shares with the main action a common question of law

 or fact,” and their participation will not “unduly delay or prejudice the adjudication of the original

 parties’ rights.” Fed. R. Civ. P. 24(b)(1), (b)(3).

            Proposed Intervenors satisfy all the requirements of permissive intervention. As explained

 in Proposed Intervenors’ opening brief, Proposed Intervenors’ motion is timely and intervention

 here would not cause any delay or prejudice, as Proposed Intervenors are adhering to the already-

 existing deadline the Court has set. Moreover, Proposed Intervenors seek to advance a defense of

 the challenged Privacy Rules that, at least as to one, Defendants have already effectively

 abandoned; namely, that the 2024 Rule is a proper exercise of the Department’s lawful authority.

            Texas does not contest that Proposed Intervenors and the government could share in a

 defense.      The government does.       But the cases that the government cites—a nonbinding

 concurrence and a case relying on it—have little bearing on this Court. This Court should exercise

 its discretion in permitting intervention here if it finds that intervention as of right is not warranted.

                                             CONCLUSION

            For the foregoing reasons and those stated in their opening brief, Proposed Intervenors

 respectfully request that this Court grant their motion for leave to intervene.




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 Date: June 17, 2025                                Respectfully submitted,

                                                    /s/ Emma R. Leibowitz
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 17, 2025, a copy of the foregoing was filed electronically via

 the Court’s ECF system, which effects service upon counsel of record.


                                                      /s/ Emma R. Leibowitz
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